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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION
     UNITED STATES OF AMERICA,                     )
                                                   )
                            Plaintiff,             )
     vs.                                           )           Case No. 4:20-CR-00212
                                                   )
     DEBRA LYNN MERCER-ERWIN (1)                   )
                                                   )
                            Defendants.            )

                                              ORDER

           Upon the filing of Defendant, Debra Lynn Mercer-Erwin’s Motion in Limine Regarding

    Operational Code Names, Hearsay, and Prior Criminal History [Doc. 355], the Court hereby

    orders that Defendant’s Motion in Limine Regarding Operational Code Names, Hearsay, and

    Prior Criminal History as follows.

            MIL #1 – Any reference to code names given to different investigations by the

    government.

           Decision:       GRANTED________             DENIED____X_____



           MIL #2 – Hearsay - Any use of hearsay statements.

           Decision:       GRANTED________             DENIED____X_____



.
           MIL #3 – Prior Criminal History - Any reference to the prior criminal history of the

    Defendant in front of the jury.

           Decision:       GRANTED____X____            DENIED_________

           IT IS SO ORDERED.
            SIGNED this 10th day of April, 2023.




                                          ___________________________________
                                          AMOS L. MAZZANT
